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lN THE UNlTD STATES DlSTRlCT COURT './_'::
FOR THl-: Mu:)DLE DlsTRlCT 0F NORTH CAROLlN';A_W:,'

.,

PRIME TV, LLC‘
Plu`mli'r`f.
vs.

Civil Action
Case Number \:Ol CV 00952

TRAVEI_ERS TNSURANCE COMPANY
and TRAVELERS PROPERTY
CASUAI.TY lNSURANCE COMPANY,

Defendants.

 

STIPULATION OF DISMISSAL

 

NOW COME the parties, pursuant to Rule 41 ofthe Rules ofCivil Procedure, and hereby

voluntarily dismiss the above-referenced actiun. with prejudice

This lst day Of` 510er , 2005.

VAN CAMP, MEACHAM & NEWMAN, PLLC
Attorneys for_P;Zaintif`f

  

By:

 

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and

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